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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION


 UNITED STATES OF AMERICA,                 )
                                           )
 Plaintiff,                                )
                                           )
 vs.                                       )            No. 2:10-CR-109
                                           )
 SISTOL BERNAL,                            )
     a/k/a “Cisco,”                        )
     a/k/a “Suge,”                         )
                                           )
 Defendant.                                )


                            OPINION AND ORDER
       This matter is before the Court on the Notice of Appeal of

 Magistrate    Judge’s    July   12,    2010   Detention     Order,      filed   by

 Defendant, Sistol Bernal, on July 26, 2010. The Court has reviewed

 the detention hearing held before Magistrate Judge Andrew P.

 Rodovich on July 7, 2010, all evidence submitted at the detention

 hearing, and the order of detention issued on July 12, 2010.                After
 review, this Court concurs with the order of detention, and DENIES

 Defendant’s request to post bond in this case.


 BACKGROUND

       Sistol Bernal (“Bernal”) was arrested on June 29, 2010,

 pursuant     to   an   indictment     charging   him   with     Conspiracy      to

 Participate in Racketeering Activity, in violation of 18 U.S.C.

 Section 1962(d).       More specifically, the indictment alleges that
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 Bernal is a member of the “Almighty LATIN KING and Queen Nation”,

 a criminal organization whose members and associates engaged in

 acts of violence, including murder, attempted murder, assault with

 a dangerous weapon, and narcotics distribution.                  The indictment

 alleges numerous overt acts, the following of which reference

 Bernal: (1) on or about November 9, 2004, Bernal had a telephone
 conversation with a Latin King member discussing the Texas Latin

 King hierarchy and other topics relating to the enterprise; (2) on

 or about May 28, 2005, Bernal, Vargas, Zambrano, and another Latin

 King member traveled from the Chicago/Northwest Indiana area to

 Texas to meet with the Texas Latin King hierarchy; (3) on or about

 May 29, 2005, Bernal threatened the Texas Latin King leadership

 that they would be “smashed” if they did not comply with the rules

 issued by Latin King hierarchy from the Chicago area; (4) on or

 about May 29, 2005, Bernal designated the Texas Latin King state

 enforcer as the person to communicated between Texas and the

 Chicago Latin King hierarchy; (5) in or about October of 2005

 Bernal possessed a large quantity of controlled substances; and (6)

 in or about October 2005, Bernal directed other associates to

 conduct a home invasion and robbery in Hammond, Indiana.                         If

 convicted, Bernal faces a maximum sentence of 20 years.

      A   detention    hearing   was    held    on    July   7,    2010,    before

 Magistrate Judge Andrew P. Rodovich.           At that hearing, both the

 Government    and   Defendant   had    a    full    opportunity     to    produce

 evidence.    Special Agent David Coulson testified on behalf of the

 Government.   The Government introduced several clips from a longer

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 surveillance    video,   as   well     as   several    recorded        telephone

 conversations and documents from Immigration Custom Enforcement

 verifying the international travels of Bernal.            After hearing the

 evidence, Magistrate Judge Rodovich made the following findings of

 fact relevant to Bernal:

                 3. Beginning in September 2003, federal
            agents    in    Houston,    Texas    began    an
            investigation into the activities of the Latin
            Kings street gang. The investigation included
            information    obtained    from    confidential
            informants, surveillance, and wiretaps.
                 4. Federal agents learned that a high-
            level meeting was scheduled to occur at a
            community center in Texas.        Prior to the
            meeting, the agents obtained a court order to
            install both audio and video surveillance.
                 5.   On May 29, 2005, Vargas and Bernal
            attended the meeting which included members of
            the Latin Kings from Texas.     Bernal was the
            primary spokesman at the meeting, but Vargas
            and others also made comments.
                 6.    The Latin Kings have a national
            structure which is divided into regions across
            the United States. The government has alleged
            that Bernal is an officer in the Latin Kings
            national organization and that Vargas is in
            charge of the regional affiliate which
            operates on the southside of Chicago and
            northwest Indiana.
                 7. At the meeting, Bernal indicated that
            one   of   his    enforcers,   Jose    Zambrano,
            accompanied him from Chicago.
                  8. As various individuals entered the
             meeting room, they were searched for recording
             devices. During the meeting, Bernal indicated
             that even his Incas, the second in command,
             were searched down to their shorts before any
             gang meetings.      Bernal stated that this
             precaution was necessary to prevent any
             confidential    informant   from    wearing   a
             bodywire.
                 9. In bragging about his organization,
            Bernal   indicated    that   Vargas    has   400
            “soldiers” who were recruited into the gang
            and trained.
                 10.    During the meeting, Bernal also

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            indicated that he only dealt with his two
            Incas to insulated himself from any gang
            activities.
                 11. After warning the other participants
            in the meeting that they were required to
            follow the dictates coming from Chicago,
            Bernal appointed an individual named Jose Nava
            to be the Texas contact with Chicago.     This
            appointment came after Bernal asked whether
            Nava could be trusted, and another individual
            vouched for Nava by stating that they had
            committed a murder together.
                 12.     Nava later was indicated and
            convicted of a double-murder in Texas.
                 13. In the fall of 2006, the brother of
            Vargas was killed by members of the Latin
            Dragons, a rival street gand [sic], in a
            drive-by shooting.
                 14. On February 22, 2007, Latin Dragons
            again opened fire on a meeting of the Latin
            Kings.
                 15.   On February 25, 2007, Latin Kings
            Jason Ortiz, Brandon Clay, and Jermaine Ellis
            killed two members of the Latin Dragons in
            retaliation for the killing of Vargas’
            brother.
                 16. Shortly after the killings, Ortiz,
            Clay, and Ellis were arrested, and two murder
            weapons were recovered from their vehicle.
                 17.   One of the murder weapons was an
            AK47 which had been used two weeks earlier to
            kill a US Marine on leave from Iraq.
                 18. After their arrests, both Ortiz and
            Clay gave statements indicating that the two
            murders were in retaliation for the death of
            Vargas’ brother.
                   19. Although Ortiz, Clay, and Jermaine
            Ellis were not charged with murder, Ortiz
            received a nine month prison sentence for a
            parole violation.
                 20. During his incarceration, Ortiz was
            recorded discussing the homicides with Clay.
            Ortiz was concerned that Ellis may have
            cooperated with the police and indicated that
            he had obtained a “green light” to kill Ellis.
            According to Agent Coulson, when Ortiz
            indicated that he has obtained the “green
            light” from the “old guys”, he was referring
            to Vargas and Bernal.

                                   * * *

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                 22. According to ICE documents, between
            2005 and 2010 Bernal re-entered the United
            States thirty-eight times from Mexico.

                                   * * *

                  25.  Bernal owns a home and lives in
            Chicago. He has family members in the Chicago
            area.
                  26. According to the Bond Report, Bernal
            has worked for C&A Construction for four
            years.
                  27.  On January 29, 1988, Bernal was
            convicted of theft and placed on probation for
            one year.     On June 25, 1990 Bernal was
            convicted of possession of a controlled
            substance and intent to distribute and was
            sentenced to seventy-two months imprisonment.
            Bernal has not had any other convictions since
            that date.

 (July 12, 2010 Order at 1-5).

      Magistrate Judge Rodovich ordered that Bernal be held without

 bond, finding that he presented a danger to the community.                  The

 written order of detention issued by Magistrate Judge Rodovich

 provides, in part, the following:

            Bernal is an officer in the Latin Kings street
            gang on a national level, and Vargas is in
            charge of a regional chapter of the Latin
            Kings. Both defendants traveled to Texas to
            participant [sic] in planning for a narcotics
            operation with Latin Kings based in Texas.
            Bernal was in charge of the meeting and
            informed the participants that they were
            required to follow the dictates coming from
            Chicago.   He also advised the other Latin
            Kings that he had brought his enforcer from
            Chicago and searched everyone who attended the
            meeting.    See generally United States v.
            Jemison, 237 F.3d 911, 918 (7th Cir. 2001)
            (“judges and the public are not blissfully
            ignorant of the connection between criminal
            violence and street gangs.).
                 The   Latin   Kings   have   a   national
            organization, and Vargas has recruited 400
            “soldiers” from his region.       This formal

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                structure of the street gang would permit the
                defendants to intimidate potential witnesses
                or to relocate somewhere in the United States.
                     After Vargas’ bother was killed, three
                members of his regional organization killed
                two members of the rival Latin Dragons street
                gang.     Two of the participants in the
                homicide, Ortiz and Clay, also discussed
                killing the third participant, Ellis, because
                they were concerned that Ellis may have
                cooperated with the police.
                     Vargas has used fictitious names, dates
                of birth, and social security numbers. Bernal
                has no significant ties to the Northern
                District of Indiana.
                     Under all of these circumstances, it is
                unlikely that the Probation Department could
                effectively monitor the defendants if released
                on bond.

 (July    12,    2010    Order    at    5-7).        Bernal    now    seeks     review    of

 Magistrate Judge Rodovich’s detention order.                     Bernal claims both

 that    the    Government     failed     to    meet    its    burden    and     that    the

 Magistrate Judge’s findings are not supported by the evidence.



 DISCUSSION

        Section 3145(b) provides for district court review of a

 magistrate’s       release      or    detention      order.         Pursuant    to     this

 provision, the district court must conduct a de novo review and

 need not defer to the magistrate’s findings.                         United States v.

 Levine, 770 F. Supp. 460 (N.D. Ind. 1991)(citations omitted);

 United    States       v.   Shaker,    665     F.   Supp.     698,    701    (N.D.     Ind.

 1987)(citations omitted).

        The district court’s review of a magistrate judge’s detention

 order may be conducted either by reviewing the transcript, or by

 holding a new hearing.          United States v. Torres, 929 F.2d 291, 292

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 (7th Cir. 1991).    Although the district court has the authority to

 conduct a new hearing, it is not required.                 Bernal does not

 specifically request a new hearing.           18 U.S.C. section 3142(f)

 provides that detention hearings “may be reopened before or after

 a determination by the judicial officer...if the judicial officer

 finds that information exists that was not known to the movant at
 the time of the hearing and that has a material bearing on the

 issue whether there are conditions of release that will reasonably

 assure the appearance of such person as required and the safety of

 any other person and the community.”          Bernal has offered nothing

 that would satisfy this threshold requirement for re-opening the

 detention hearing. As such, this Court exercises its discretion to

 conduct its de novo review without hearing additional evidence or

 argument.

      Under the Bail Reform Act of 1984, a defendant shall not be

 detained pre-trial unless a condition or combination of conditions

 will not reasonably assure (1) the defendant’s appearance as

 required and (2) the safety of any other person and the community.

 18 U.S.C. § 3142(e).    The Government has the burden of proving that

 the defendant is either a flight risk or a danger to the community.

 United States v. Daniels, 772 F.2d 382, 383 (7th Cir. 1985).                  To

 justify detention based on the defendant’s alleged dangerousness,

 the Government must establish “by clear and convincing evidence

 that no condition or set of conditions will ensure the safety of

 the community.”    U.S. v. Portes, 786 F.2d 758, 764 (7th Cir. 1985).
 On the other hand, to justify detention based on a risk of flight,

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 it must be established by a preponderance of the evidence that no

 set of conditions will reasonably assure the defendant’s appearance

 in court at the required times.         Id. at 765.     A finding of either

 danger to the community or a flight risk is sufficient to detain a

 defendant awaiting trial; a court need not find both to detain a

 defendant under the Act.      U.S. v. Daniels, 772 F.2d at 383.
       In determining whether the Government has carried its burden

 of proof, the court may consider several factors.                 18 U.S.C. §

 3142(g).   The factors pertinent to this matter include:

            (1) the nature and circumstances of the
            offense charged ...;
            (2) the weight of the evidence against the
            person;
            (3) the history and characteristics of the
            person, including -
                      (A) the person’s character, physical
                      and mental condition, family ties,
                      employment,   financial   resources,
                      length    of   residence    in   the
                      community, community ties, past
                      conduct ... and record concerning
                      appearance at court proceedings ...
            (4) the nature and seriousness of the danger
            to any person or the community that would be
            posed by the person’s release.

 Id.

       Based on a de novo review of the evidence presented and

 proffered before Magistrate Judge Rodovich, this Court adopts the

 findings annunciated by Magistrate Judge Rodovich, except as to his

 finding that Agent Coulson testified that Ortiz’ reference to “old

 guys” was a reference to Vargas and Bernal.          Agent Coulson in fact

 testified that he did not know.        (Transcript of Detention Hearing,

 July 7, 2010, at 59, 72).      Because that finding is not material to


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 the result, this Court finds by clear and convincing evidence that

 no condition or set of conditions will ensure the safety of the

 community.

      Furthermore,    this   Court     finds   by   a   preponderance      of   the

evidence that there is a serious risk that Bernal will not appear

in court.     Bernal is facing a considerably long sentence in this
case, he has a history of significant travel to Mexico, and he is

a high-ranking officer in a gang organization in which officers

limit exposure to prosecution by limiting the number of contacts

with other gang members. In this case, Bernal’s significant family

ties to the area, employment record, and his lack of a recent

criminal record do little to persuade the Court that Bernal is

likely to appear because Bernal is seen on video making clear

distinctions between his gang activity and his familial activities.

 In the words of Attorney Cooley, “they insulate themselves from the

dirty work ... they have layers of chain of command in which they

will allow these people to execute the duties or the obligations of

the Latin Kings, go on the missions if you will.”                (Transcript of

Detention Hearing, July 7, 2010, at 83).                These same layers of

insulation that protected Bernal from prosecution for so long also

suggests a ready avenue for escape in the face of prosecution.



CONCLUSION

      In summary, the credible testimony and information submitted

at the hearings before Magistrate Judge Rodovich establishes by

clear and convincing evidence that the Defendant poses a danger to

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the community and by a preponderance of the evidence that the

Defendant    will   not   appear.      Thus,     the   Court   finds     that   the

Government has carried its burden of showing by clear and convincing

evidence that Bernal is a danger to the community and that no

conditions or combination of conditions will protect the community.

In addition, the Government has carried its burden of demonstrating
by a preponderance of the evidence that Bernal is a risk of flight.

Accordingly, this Court ORDERS that Bernal remain HELD WITHOUT BOND.

Pursuant to 18 U.S.C. section 3142(i), it is ORDERED that:

      A.    Defendant is committed to the custody of the Attorney
            General or his designated representative for confinement
            in a correctional facility separate, to the extent
            practicable, from persons awaiting or serving sentences
            or being held in custody pending appeal.

      B.    Defendant shall be afforded a reasonable opportunity for
            private consultation with his attorney; and

      C.    On order of a court of the United States or on request of
            an attorney for the Government, the person in charge of
            the corrections facility shall deliver Defendant to the
            United States Marshal for the purpose of an appearance in
            connection with a court proceeding.


DATED: July 30, 2010                          /s/ RUDY LOZANO, Judge
                                              United States District Court




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